  Case 1:18-cv-00134-BKS-ATB           Document 19-1             Filed 03/26/18     Page 1 of 13




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


NEW YORK STATE RIFLE & PISTOL ASSOCIATION,
INC.; ROBERT NASH,

                                                   Plaintiffs,
                                                                              18-CV-0134
                        -against-
                                                                                  BKS/ATB
GEORGE P BEACH II; RICHARD J MCNALLY JR., NYS
Supreme Court Judge,

                                              Defendants.



 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS
                       THE COMPLAINT


                                                  ERIC T. SCHNEIDERMAN
                                                  Attorney General of the State of New York
                                                  Attorney for Defendants George P. Beach and
                                                         Richard J. McNally
                                                  The Capitol
                                                  Albany, New York 12224-0341

Kelly L. Munkwitz
Assistant Attorney General, of Counsel
Bar Roll No. 509910
Telephone: (518) 776-2626
Fax: (518) 915-7738 (Not for service of papers)                              Date: March 26, 2018
    Case 1:18-cv-00134-BKS-ATB                               Document 19-1                  Filed 03/26/18                Page 2 of 13




                                                           Table of Contents

PRELIMINARY STATEMENT .................................................................................................... 1

FACTS ............................................................................................................................................ 1

ARGUMENT . ................................................................................................................................ 3

POINT I .......................................................................................................................................... 4

    BECAUSE THE HOLDING IN KACHALSKY IS CONTROLLING, THE
       COMPLAINT MUST BE DISMISSED ............................................................................. 4

POINT II . ....................................................................................................................................... 9

    THE CLAIM BROUGHT BY NYSRPA SHOULD BE DISMISSED ON THE
       ADDITIONAL BASIS THAT NYSRPA LACKS STANDING TO PURSUE
       FACIAL CONSTITIONAL CHALLENGES LIKE THIS ONE ....................................... 9

CONCLUSION . ........................................................................................................................... 10




                                                                         i
    Case 1:18-cv-00134-BKS-ATB                  Document 19-1            Filed 03/26/18         Page 3 of 13




                                     PRELIMINARY STATEMENT

         This Memorandum of Law is respectfully submitted on behalf of defendants New York

State Police Superintendent George P. Beach II and the Honorable Richard J. McNally, Jr.

(collectively “defendants”) and in support of their motion to dismiss the Complaint pursuant to

Federal Rule of Civil Procedure 12(b)(6). In Kachalsky v. County of Westchester, the Second

Circuit definitively held that New York’s handgun licensing scheme, which requires an applicant

to demonstrate “proper cause” to obtain a license to carry a concealed handgun in public, does

not violate the Second Amendment to the United States Constitution. Despite the Second

Circuit’s ruling, plaintiffs now mount a facial challenge to the constitutionality of New York’s

Penal Law section 400.00(2)(f) – the very statute at issue in Kachalsky. Because Kachalsky,

which was properly decided, is binding precedent, the Complaint fails to state a cause of action

and must be dismissed.

                                                     FACTS

         Plaintiff New York State Rifle & Pistol Association, Inc. (NYSRPA) is a “group

organized to support and defend the right of New York residents to keep and bear arms.”

Complaint, Dkt. # 1, ¶ 11. It purports to have thousands of members who live in New York,

including plaintiff Robert Nash. Id. Plaintiff Nash lives in Averill Park, New York and owns

several handguns. Complaint, Dkt. # 1, ¶¶ 10, 23. As of March 12, 2015, plaintiff Nash also

possesses a firearm1 license for home possession and which is marked “Hunting, Target only.”

Complaint, Dkt. # 1, ¶ 24. Plaintiff Nash’s permit allows him to carry a handgun outside of his



1
  A “firearm” is defined under New York law to include pistols and revolvers; shotguns with barrels less than
eighteen inches in length; rifles with barrels less than sixteen inches in length; “any weapon made from a shotgun or
rifle” with an overall length of less than twenty-six inches; and assault weapons. Penal Law § 265.00(3); see
Kachalsky, 701 F.3d at 85. Rifles and shotguns are otherwise not subject to New York’s licensing provisions. Penal
Law § 265.00(3); see Kachalsky, 701 F.3d at 85. Plaintiff may have long guns which he is free to keep at home or
to carry without a license.

                                                         1
   Case 1:18-cv-00134-BKS-ATB             Document 19-1        Filed 03/26/18      Page 4 of 13




home for hunting and target shooting, including “carrying concealed for the purposes of off road

back country, outdoor activities similar to hunting, for example, fishing, hiking & camping, etc.”

Dkt. # 1, Ex. 2. According to the Complaint, plaintiff Nash does not face any special or unique

danger to his life. Dkt. # 1, ¶ 23.

       Defendant Richard J. McNally, Jr. is a Justice of the New York Supreme Court, Third

Judicial District. Complaint, Dkt. #1, ¶ 13. He is sued in his official capacity. Justice McNally

is a Licensing Officer for Rensselaer County under Penal Law section 400.00. In that role, “he is

responsible for receiving applications, investigating the applicant, and either approving or

denying the application” for a handgun license. Complaint, Dkt. #1, ¶ 13. Defendant George P.

Beach II is the Superintendent of the New York State Police. He is sued in his official capacity,

presumably because his agency is one of the law enforcement agencies in New York State that

enforces the New York Penal Law. See Complaint, Dkt. # 1, ¶ 12. Superintendent Beach also

approves the form that a person seeking a license to carry a concealed handgun must submit.

Complaint, Dkt. #1, ¶ 15.

       On September 5, 2016, plaintiff Nash applied to Justice McNally to have the hunting and

target restrictions removed from his license and have Judge McNally issue plaintiff Nash a

license that would permit him to carry a concealed handgun in public. Complaint, Dkt. #1, ¶ 26.

Although plaintiff Nash owns handguns that he “keeps in his home to defend himself and his

family”, he cited “a string of recent robberies in his neighborhood” as justification for his

application. Complaint, Dkt. #1, ¶¶23, 26. Justice McNally held an informal hearing to

determine whether plaintiff Nash could establish “proper cause”. Complaint, Dkt. #1, ¶¶ 27-28.

Section 400.00(2)(f) of New York’s Penal Law requires a finding of proper cause before a

Licensing Officer may issue a permit to carry a concealed firearm in public. Complaint, Dkt. #1,



                                                  2
   Case 1:18-cv-00134-BKS-ATB             Document 19-1         Filed 03/26/18      Page 5 of 13




¶¶ 15-17. Justice McNally found that plaintiff did not establish proper cause because he “did not

demonstrate a special need for self-defense that distinguishes him from the general public.”

Complaint, Dkt. #1, ¶ 28. Plaintiff Nash continues to maintain his license that permits him to use

his handguns for hunting and target use, as well as protection in the home. Complaint, Dkt. #1, ¶

27.

       Plaintiffs now challenge the constitutionality of New York Penal Law section

400.00(2)(f), citing to Wrenn v. District of Columbia, a recent case out of the D.C. Circuit.

Because the Second Circuit has established that the statute is constitutional, the Complaint must

be dismissed.



                                           ARGUMENT

       In deciding a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a court

should “draw all reasonable inferences in Plaintiff[’s] favor, assume all well-pleaded factual

allegations to be true, and determine whether they plausibly give rise to an entitlement to relief.”

Faber v. Metro. Life Ins. Co., 648 F.3d 98, 104 (2d Cir. 2011) (internal quotation marks

omitted).

       “‘To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.’” Reeve v. Murabito, No.

13-cv-712, 2013 U.S. Dist. LEXIS 163359, at *4 (N.D.N.Y. Nov. 15, 2013) (quoting Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009)) (internal quotation marks omitted). “‘A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.’” Id. The complaint must

“allege ‘more than a sheer possibility that a defendant has acted unlawfully’ and more than ‘facts



                                                  3
   Case 1:18-cv-00134-BKS-ATB             Document 19-1         Filed 03/26/18     Page 6 of 13




that are merely consistent with a defendant’s liability.’” Id. (internal quotation marks omitted).

Determining whether a complaint plausibly states a claim for relief is “a context specific task

that requires the reviewing court to draw on its judicial experience and common sense.” Iqbal,

556 U.S. at 679; accord Harris v. Mills, 572 F.3d 66, 71-72 (2d Cir. 2009). Here, plaintiffs

acknowledge that the Complaint is contrary to the Second Circuit’s decision in Kachalsky. By

the very language of the Complaint, plaintiffs fail to state a claim for relief.

                                        POINT I
                          BECAUSE THE HOLDING IN KACHALSKY IS
                      CONTROLLING, THE COMPLAINT MUST BE DISMISSED


        Plaintiffs assert that the Second Circuit wrongly decided Kachalsky for the reasons

explained in Wrenn v. District of Columbia, 864 F.3d 650 (D.C. Cir. 2017), and seek from this

Court a declaration that New York Penal Law section 400.00(2)(f) violates the Second

Amendment to the United States Constitution. They further seek injunctive relief and attorney

fees. This Court may not provide the relief sought. Newsom-Lang v. Warren Int’l, 129 F.

Supp.2d 662, 664 (S.D.N.Y. 2001).

       District courts are bound by the applicable Circuit precedent. Id.; Monsanto v. United

States, 348 F.3d 345, 351 (2d Cir. 2003). “This Court must follow binding precedent from

the Second Circuit.” Preston v. Berryhill, 254 F. Supp. 3d 379, 384-385 (N.D.N.Y. 2017) (citing

United States ex rel. Schnitzler v. Follette, 406 F.2d 319, 322 (2d Cir. 1969)). Even if this Court

finds the holding in Wrenn more persuasive, it may not substitute its own judgment for that of

the Second Circuit. “‘Rather, lower courts should follow the case which directly controls,

leaving to [the Circuit] Court the prerogative of overruling its own decisions.”’ Windsor v.

United States, 699 F.3d 169, 195 (2d Cir. 2012) (quoting Agostini v. Felton, 521 U.S. 203, 207,




                                                   4
   Case 1:18-cv-00134-BKS-ATB             Document 19-1         Filed 03/26/18      Page 7 of 13




117 S. Ct. 1997, 138 L. Ed. 2d 391 (1997)) (alteration added); see also United States v. Diaz. 122

F. Supp.3d 135, 168 (S.D.N.Y. 2015), aff’d 2017 U.S. App. LEXIS 6579 (2d Cir. Apr. 18, 2017).

       It is undisputed that the holding in Kachalsky is controlling here. See Complaint, Dkt. #1,

¶ 6 (noting the relief sought is contrary to Kachalsky); ¶¶ 5, 15-19 (setting forth facts that

challenge section 400.00(2)(f) of New York's Penal Law, specifically the requirement that an

applicant show “proper cause” to obtain a license to carry a concealed firearm); Kachalsky v.

County of Westchester, 864 F.3d 81, (2d Cir. 2012) (finding the issue to be whether New York’s

firearm licensing scheme, which requires an applicant to demonstrate “proper cause” to obtain a

license to carry a concealed handgun in public, violates the Second Amendment).

       While this Court's inquiry necessarily ends upon review of the Complaint and the

decision in Kachalsky, it is noteworthy that the D.C. Circuit's decision in Wrenn adds nothing to

the Second Circuit's decision in Kachalsky. Indeed, the arguments accepted by the Wrenn court

were considered and rejected by the Second Circuit. For example, the D.C. Circuit found that

the ability to carry a firearm outside of the home was a central or core component to the Second

Amendment's right to keep and bear arms. Wrenn v. District of Columbia, 864 F.3d 650, 657

(D.C. Cir. 2017). The Second Circuit flatly rejected that same argument, finding that the ability

to carry weapons outside of the home did not constitute a “core” component to the Second

Amendment. Kachalsky v. District of Columbia, 701 F.3d 81, 93 (2d Cir. 2012)(“Heller explains

that the ‘core’ protection of the Second Amendment is the ‘right of law-abiding, responsible

citizens to use arms in defense of hearth and home.’”); see also McDonald v. City of Chicago,

Ill., 561 U.S. 742, 791 (2010).

       The Second Circuit and the D.C. Circuit also differ in the manner they view the Supreme

Court’s decision in District of Columbia v. Heller, 554 U.S. 570, 128 S. Ct. 2783, 171 L.Ed.2d



                                                  5
   Case 1:18-cv-00134-BKS-ATB             Document 19-1         Filed 03/26/18      Page 8 of 13




637 (2008) and the manner in which they treat the various states’ historic regulation of weapons.

See Wrenn, 864 F.3d at 662 (distinguishing Kachalsky). While Wrenn was decided after

Kachalsky, the Second Circuit (and courts within it) continues to rely upon Kachalsky as

controlling. See, e.g., New York State Rifle & Pistol Ass’n v. City of New York, 883 F.3d 45 (2d

Cir. 2018); Libertarian Party v. Cuomo, 2018 U.S. Dist. LEXIS 4543, 2018 WL 353181

(W.D.N.Y. 2018). In fact, the Second Circuit specifically considered and rejected the reasoning

in Wrenn. In New York State Rifle & Pistol Ass'n, Inc. v. City of New York, the Second Circuit

stated:

                 We are aware that a divided panel of the Seventh Circuit and a divided
                 panel of the District of Columbia Circuit have disagreed with Kachalsky.
                 See Moore v. Madigan, 702 F.3d 933, 941 (7th Cir. 2012); Wrenn v.
                 District of Columbia, 864 F.3d 650, 662 (D.C. Cir. 2017). After giving
                 careful and respectful attention to the reasoning of those opinions, we
                 reaffirm our prior holding, by which this panel is, in any event, bound. We
                 also recognize that the Third and Fourth Circuits have adopted reasoning
                 similar to ours in upholding various state regulations on the carrying of
                 firearms outside the home. See Drake v. Filko, 724 F.3d 426, 433 (3d Cir.
                 2013); Woollard v. Gallagher, 712 F.3d 865, 880–81 (4th Cir. 2013). The
                 Ninth Circuit upheld a similar regulation on other grounds. Peruta v. Cty.
                 of San Diego, 824 F.3d 919, 924 (9th Cir. 2016) (en banc) (holding that
                 “the Second Amendment does not ... protect a right of a member of the
                 general public to carry concealed firearms in public”), cert. denied sub
                 nom. Peruta v. California, ––– U.S. ––––, 137 S.Ct. 1995, 198 L.Ed.2d
                 746 (2017).

883 F.3d at 56 n.5. Plaintiffs’ argument that after the Wrenn decision, the Second Circuit should

revisit Kachalsky as it was “wrongly decided” is unfounded.

          The Second Circuit’s well-reasoned analysis in Kachalsky includes discussion of New

York’s longstanding history of firearm regulation, 701 F.3d at 84-85, the Supreme Court’s

decision in Heller, id. at 88-94, various states’ historical regulation of firearms in public places,

id. at 89-90, 95-96, and historical and current studies that address the potential danger of

concealed handguns in public places, id. at 84-85, 99. While not relevant to the issue before this

                                                  6
    Case 1:18-cv-00134-BKS-ATB                   Document 19-1            Filed 03/26/18          Page 9 of 13




Court, as the Kachalsky decision is controlling, it is noteworthy that more recent studies are even

more compelling than those considered by the Second Circuit in Kachalsky.

         Plaintiffs essentially ask that New York move to become a “shall issue” state, where

licensing officials have little to no discretion and where applicants need not show “proper cause”

to have unrestricted license to carry concealed handguns in public. Recent studies have shown

that violent crime increases 12.3% after states move from laws requiring a showing of a need to

carry firearms in public places to a more permissive system, with the effect increasing by 1.1%

each year thereafter. 2 John Donohue Study discussed in Webster, et al. Firearms on College

Campuses: Research Evidence and Policy Implications (2016) (available at

https://www.jhsph.edu/research/centers-and-institutes/johns-hopkins-center-for-gun-policy-and-

research/_pdfs/GunsOnCampus.pdf).

         Other recent empirical evidence also strongly demonstrates that licensing laws regulating

the public carrying of guns, like New York’s, substantially advance the state’s compelling

interests in protecting its citizens from gun violence. Research now shows that handgun permit

and licensing laws are “[t]he type of firearm policy most consistently associated with curtailing

the diversion of guns to criminals and for which some evidence indicates protective effects

against gun violence.” Daniel W. Webster & Garen J. Wintemute, Effects of Policies Designed

to Keep Firearms from High-Risk Individuals, 36 Ann. Rev. Pub. Health 21, 34 (2015)(available

at https://www.annualreviews.org/doi/full/10.1146/annurev-publhealth-031914-122516).

         The vast majority of firearms-related homicides -- approximately 90% in 2015 – are

committed with handguns. States where handgun licensing laws leave licensing officials with


2
  The Court may properly take judicial notice of “studies and data” in assessing Plaintiffs’ Second Amendment
claim. Kachalsky, 701 F.3d at 97-99; New York State Rifle & Pistol Ass'n, Inc. v. Cuomo, 804 F.3d at 261–62; see
also, e.g., Snell v. Suffolk Cnty., 782 F.2d 1094, 1105-06 (2d Cir. 1986) (holding that social science studies can be
reviewed by courts as “legislative facts”).

                                                          7
  Case 1:18-cv-00134-BKS-ATB              Document 19-1         Filed 03/26/18      Page 10 of 13




little or no discretion (referred to as “shall-issue states”) are associated with significantly higher

rates of total (6.5%), firearm-related (8.6%), and handgun-related (10.6%) homicide when

compared with “may-issue” states like New York. See, e.g., Michael Siegel, et. al., Easiness of

Legal Access to Concealed Firearm Permits and Homicide Rates in the United States (2017)

(available at http://ajph.aphapublications.org/doi/full/10.2105/AJPH.2017.304057). In those

states that move from handgun licenses to “right to carry” handgun laws, violent crime increases

an average of 12.3%, with the effect increasing by 1.1% each year the change is in effect.

Another comprehensive study found that shall-issue laws increase violent crime and murder,

including a 13-15% increase in violent crime after ten years and small increases in property

crime and homicide. John Donohue, Right to Carry laws and Violent Crime: a Comprehensive

Assessment Using Panel Data and a State Level Synthetic Controls Analysis (2017). Shall-issue

laws are also associated with an increase in aggravated assault generally and a 33% increase in

gun-related aggravated assault. Abhey Aneja & John Donohue, The Impact of Right to Carry

Laws and the NRC report: the Latest Lessons for the Empirical Evaluation of Law and Policy

(2012)(available at http://www.nber.org/papers/w18294.pdf).

       Two important examples of the import of handgun licensing laws are found in the

experiences in Missouri and Connecticut. Missouri’s repeal of its handgun licensing law, in

2007, was associated with a 14% increase in the state’s annual murder rate and an increase of

25% in its rate of firearm homicides. Daniel Webster et al., Effects of the Repeal of Missouri’s

Handgun Purchaser Licensing Law on Homicides, 91 J. Urban Health 293 (2014) (erratum: 91 J.

Urban Health 598 (2014)) (available at

https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3978146/ and

https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4074329/). Yet another study examined the



                                                   8
  Case 1:18-cv-00134-BKS-ATB             Document 19-1         Filed 03/26/18      Page 11 of 13




impact of Connecticut’s handgun licensing law and found that it was associated with a 40%

reduction in that state’s firearm homicide rate. Kara E. Rudolph et al., Association Between

Connecticut’s Permit-to-Purchase Handgun Law and Homicides, 105 Am. J. Pub. Health e49

(2015)(available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4504296/). Notably, in both

Missouri and Connecticut, no “substitution effect” was observed, meaning criminals did not just

switch to other weapons when they failed to obtain firearms.

       These recent studies are not dispositive here. This Court is bound by the Second

Circuit’s previous decisions in Kachalsky and NYSRPA v. City of New York, 883 F.3d at 57.

Nevertheless, it is perhaps because of the strength of the empirical evidence showing that New

York’s licensing laws, including the “proper cause” requirement, substantially advance the

State’s compelling interest in public safety that the plaintiffs simply ask the Court to set aside

Kachalsky as “wrongly decided” and to blindly follow Wrenn.



                                    POINT II
       THE CLAIM BROUGHT BY NYSRPA SHOULD BE DISMISSED ON THE ADDITIONAL
               BASIS THAT NYSRPA LACKS STANDING TO PURSUE FACIAL
                    CONSTITUTIONAL CHALLENGES LIKE THIS ONE.

       The organizational plaintiff, NYSRPA, lacks standing. NYSRPA alleges in the

Complaint that that the challenged statutes are “a direct affront” to its “central mission” and that

it brings suit to “support and defend” that rights of New York residents and its members to carry

firearms outside the home. Dkt. # 1, ¶ 11. But in a 42 U.S.C. § 1983 action like this one, an

organization may bring suit only “on its own behalf, rather than that of its members.” N.Y. State

Citizens’ Coal. for Children v. Velez, No. 14-2919-cv, 2015 U.S. App. LEXIS 18805, at *3 (2d

Cir. Oct. 29, 2015) (summary order); see, e.g., Knife Rights Inc. v. Vance, 802 F.3d 377, 387-89

(2d Cir. 2015); Nnebe v. Daus, 644 F.3d 147, 156 (2d Cir. 2011). The Complaint is silent as to

                                                  9
  Case 1:18-cv-00134-BKS-ATB              Document 19-1        Filed 03/26/18       Page 12 of 13




any injury that NYSRPA itself has sustained, let alone one that would give rise to standing in this

case. See, e.g., Kachalsky, 817 F. Supp. 2d at 251 (holding that an organizational plaintiff’s

allegations “that it ‘promote[s] the exercise of the right to keep and bear arms and engages in

‘education, research, publishing and legal action focusing on the [c]onstitutional right to

privately own and possess firearms’ . . . are plainly insufficient to give rise to standing”).



                                          CONCLUSION

       By its own terms, the Complaint runs counter to the Second Circuit Court of Appeals

decision in Kachalsky v. County of Westchester. Because Kachalsky is binding precedent on this

Court, the Complaint must be dismissed.

Dated: Albany, New York
March 26, 2018
                                                   ERIC T. SCHNEIDERMAN
                                                   Attorney General of the State of New York
                                                   Attorney for Defendants George P. Beach and
                                                          Richard J. McNally
                                                   The Capitol
                                                   Albany, New York 12224-0341


                                                   By: s/ Kelly L. Munkwitz
                                                   Kelly L. Munkwitz
                                                   Assistant Attorney General, of Counsel
                                                   Bar Roll No. 509910
                                                   Telephone: (518) 776-2626
                                                   Fax: (518) 915-7738 (Not for service of papers)
                                                   Email: Kelly.Munkwitz@ag.ny.gov


TO:    Kathleen McCaffrey Baynes, Esq. (via ECF)
       KATHLEEN MCCAFFREY BAYNES, ESQ., PLLC
       21 Everett Road Extension, Suite A-4
       Albany, NY 12205




                                                  10
Case 1:18-cv-00134-BKS-ATB         Document 19-1   Filed 03/26/18   Page 13 of 13




   John D. Ohlendorf, Esq. (via ECF)
   COOPER & KIRK, PLLC


   Peter A. Patterson, Esq. (via ECF)
   COOPER & KIRK, PLLC


   David H. Thompson, Esq. (via ECF)
   COOPER & KIRK, PLLC
   1523 New Hampshire Avenue, N.W.
   Washington, DC 20036




                                        11
